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(ay 19 202) VNITED STATES DISTRICT COURT |
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7 LOEWENGUTY oS District of Columbia
~SSTERN DISTRICLS
~ United States of America )
¥. ) Case: 1:21-mj-00390
John Juran (AKA: Jack Juran) Assigned To : Faruqui, Zia M.
DOB: XXXXXX ) Assign, Date : 04/21/2024
) Description: COMPLAINT Wi ARREST WARRANT
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the

 

in the District of Columbia __, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,

18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority,

40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,

40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.

This criminal complaint is based on these facts:

See attached statement of facts.

MM Continued on the attached sheet.

 

Complainant's signature

Jared Gustafson, Officer

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone. ie 3021.04.21
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Judge's signature

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge
Printed name and title
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Case: 1:21-mj-00390
Assigned To : Faruqui, Zia M.
Assign, Date : 04/21/2021
Description: COMPLAINT W/ ARREST WARRANT

STATEMENT OF FACTS

Your affiant, Jared D. Gustafson, is an Investigator with the New York State Department of
Corrections and Community Supervision - Office of Special Investigation and Task Force Officer
with the Federal Bureau of Investigation (FBI) assigned to the Joint Terrorism Task Force in the
Buffalo Field Office. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

Following the January 6, 2021 attack on the Capitol, your affiant received and reviewed
multiple tips submitted by members of the public. On February 3, 2021, law enforcement received a
tip from the FBI National Threat Operations Center (NTOC) that John “Jack” JURAN was involved
in the breach of the U.S. Capitol on January 6, 2021. The tipster stated the following: “A person I
know who is on Facebook was there. Admits to being on the scaffolding. Not sure if this is
trespassing or not. Do not believe he was involved in violence but anyone there especially on the
scaffolding seems to be breaking the law. If not my apologizes.”

According to records obtained through a search warrant, which was served on Google, a
mobile device associated with the Google account jjuranl163@gmail.com was present at the U.S.
Capitol on January 6, 2021. Google estimates device location using sources including GPS data and
information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in
its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display
radius” for each location data point. Thus, where Google estimates that its location data is accurate
to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data point.
Finally, Google reports that its “maps display radius” reflects the actual location of the covered
device approximately 68% of the time. In this case, Google location data shows that a device
associated with the Google account jjuran]63@gmail.com was within the U.S. Capitol on January
6, 2021 between the hours of 2:29 p.m. through 2:59 p.m. EST. Google records show that of 17
location data points within the Capitol corresponding to corresponding to j jjuranl63@gmail.com ,
the “maps display radius” for this location data was between 100 and 200 feet, which encompasses
an area that is entirely within the U.S. Capitol Building.

On February 16, 2021, legal process was served to Google LLC to obtain subscriber
information for Google Account ID: 554893570672 and email jjuran163@gmail.com. On
February 16, 2021, returns from Google LLC indicated that the Google Account ID:
554893570672 and email account jjuran@gmail.com were created on September 1, 2012 and
subscribed to by John JURAN. The returns also listed a backup email address of
jjuran!64@yahoo.com and a backup SMS text messaging phone number ending in -5110.!

Law enforcement records show the area code for the phone number ending in -5110 is an
area code servicing Western New York, including Buffalo and Williamsville, New York.

Between February 8, and February 9, 2021, law enforcement officers compared a known
image of JURAN obtained from New York State Department of Motor Vehicles on F ebruary 8,
2021 (Photo 1) to images and surveillance footage obtained by other law enforcement at and
around the U.S. Capitol on January 6, 2021 (Photos 2,” 3, 4, 5, and 6). As shown below in Photos
2, 3, 4, 5, and 6, the individual believed to John “Jack” JURAN had a mustache and was wearing
a white cowboy hat that read, “TRUMP 2020.” The underside of the hat’s brim had stars and

 

' The records included the full number, but for purposes of this public filing only that four digits
are included.

* The typewritten identification of “Jack Juran” appeared on the photograph provided by the Media
Exploitation Unit.
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stripes. Further, the individual was wearing a gray shirt beneath a gray jacket.

 

Photo 2
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Photo 3

202,"

       

Photo 5 Photo 6

Your affiant showed Photos, 1, 2, 3, 4, 5, and 6 to the tipster. The tipster stated that he/she
submitted a duplicate of Photo 2 to the FBI without the notation “Jack Juran.” The tipster positively
identified the person in all six photos was the person she knew as “Jack” Juran.

Your affiant was able to locate a publicly available Facebook page for Jack JURAN. Ina

January 6, 2021, Facebook post, JURAN posted: “Look who I found in DC!!!” and included Photo
7.
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Photo 7

On February 24, 2021, your affiant reviewed surveillance footage of an individual
resembling JURAN inside the U.S. Capitol in the interior area of the West Stairs Door at 2:54 p.m.
EST. This time is consistent with the time when, according to the Google search warrant, the user of
the Google account jjuranl63@gmail.com was within the U.S. Capitol. The West Stairs Door
accesses the first floor of the Capitol from the south side of the building containing the Senate
chambers. Your affiant believes the individual in Photo 8, wearing a gray jacket, blue jeans,

black shoes, white cowboy hat, and holding a cell phone in his left hand, is consistent with other
photographs of JURAN.

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Photo 8
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On February 24, 2021 your affiant also reviewed surveillance footage of an individual in

the Capitol in the area of the West Stairs Door near room $132 at approximately 2:54 p.m. EST
that also consistently resembles JURAN. (Photo 9).

 

Photo 9

An individual holding a cell phone in his left hand and also wearing the same gray jacket,
blue jeans, black shoes, and white cowboy hat was observed on surveillance footage exiting room
$132 at approximately 2:55 p.m. EST (Photos 10 and 11), in the hall near the West Stairs and room
$132 at approximately 2:55 p.m. EST (Photos 12 and 13) walking away from the West Stair
entrance.

 

Photo 10
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Wednesday, January 06, 2021 25543 PM

 

Photo 12

 

Photo 13

Finally, your affiant reviewed surveillance footage of an individual holding a cell phone in
his left hand and wearing the same gray jacket, blue jeans, black shoes, and white cowboy hat
exiting the U.S. Capitol through the West Stairs entrance/exit at approximately 2:59 p.m. EST
(Photos 14 and 15). Comparing the individual seen in the photos with the individual seen in Photos
2-7, your affiant believes that the images of the person depicted in the in Photos 8-15 are consistent
with the known images of JURAN.
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Wednesday, January 06, 2021 25931 PM

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Photo 15

Based on the foregoing, your affiant submits that there is probable cause to believe that
John JURAN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

Your affiant submits there is also probable cause to believe that John JURAN violated 40
U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
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(G) parade, demonstrate, or picket in any of the Capitol Buildings.

 

Jared D. Gustafson, Task Force Officer
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 21st. day of April, 2021. ~ , 2021.04.21
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ZIA M. FARUQUI.
U.S. MAGISTRATE JUDGE
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AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

 

= Case: 1:21-mj-00390
John Juran (AKA: Jack Juran) ) Assigned To : Faruqui, Zia M,

) Assign, Date : 04/21/2021

) Description: COMPLAINT Wi ARREST WARRANT
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) John Juran 5
who is accused of an offense or violation based on the following document filed with the court:

 

C1 Indictment © Superseding Indictment © Information © Superseding Information J Complaint
© Probation Violation Petition © Supervised Release Violation Petition QO Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority;

18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority;

40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds;

40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.
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Date: 04/21/2021

 

Issuing officer’s signature

City and state: Washington, D.C. Zia M. Zaruqui, U.S. Magistrate Judge

Printed name and title

 

 

 

Return

 

This warrant was received on (date) , and the person was arrested on (date)
at (city and state)

 

Date:

 

Arresting officer’s signature

 

Printed name and title

 

 

 
